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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CASA DE ALABANZA and                      )
JONESBORO COMMERCIAL                      )
CENTER, LLC,                              )
                                          )
             Plaintiffs,                  )
                                          )     CIVIL ACTION FILE NO.
v.                                        )     1:20-cv-04997-LMM
                                          )
CITY OF JONESBORO, GEORGIA,               )
HON. JOY B. DAY, Mayor, and               )
TRACEY MESSICK, BOBBY LESTER,             )
BILLY POWELL, DR. DONYA L.                )
SARTOR, PH.D., PAT SEBO, and ED           )
WISE, individually and in their           )
Official Capacities as Mayor and          )
Councilmembers of the City of             )
Jonesboro, Georgia                        )
                                          )
             Defendants.                  )

       ANSWER OF DEFENDANT CITY OF JONESBORO, GEORGIA

      Comes now the City of Jonesboro, Georgia (“Jonesboro”), defendant herein,

by and through its undersigned counsel and answers the complaint of plaintiffs

Casa de Alabanza and Jonesboro Commercial Center, LLC as follows:

                                FIRST DEFENSE

      For a first defense, this defendant shows that the complaint fails to state a

claim against it upon which relief can be granted.
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                               SECOND DEFENSE

      For a second defense, this defendant shows that the claims asserted against

defendants Day, Messick, Lester, Powell, Sartor, Sebo, and Wise in their respective

official capacities are redundant because Jonesboro is named as a defendant herein

and, therefore, said claims should be dismissed, as articulated further in said

defendants’ motion to dismiss being filed contemporaneously herewith.

                                THIRD DEFENSE

      For a third defense, this defendant responds to the numbered paragraphs of

plaintiffs’ complaint as follows:

                              NATURE OF ACTION

                                         1.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to identify the claims they are asserting in this case.

To the extent that a further response is required, this defendant expressly denies

that plaintiff is entitled to any of the relief prayed for in the complaint, as

articulated in this paragraph or otherwise.

                                    THE PARTIES

                                         2.

      This defendant denies that Jonesboro Commercial Center is a religious

institution.   In further response, this defendant is without knowledge or

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information sufficient to form a belief as to the truth or falsity of the remaining

allegations of this paragraph and, therefore, this defendant can neither admit nor

deny the same.

                                          3.

      On information and belief, this defendant admits only that plaintiff

Jonesboro Commercial Center is a Georgia Domestic Limited Liability Company

whose principal office address is located at 410 East Taylor Street, Suite O, in

Griffin, Georgia 30223. In further response, this defendant is without knowledge

or information sufficient to form a belief as to the truth or falsity of the remaining

allegations of this paragraph and, therefore, this defendant can neither admit nor

deny the same.

                                          4.

      This defendant admits only that Jonesboro is a municipal corporation

organized and existing under the laws of the State of Georgia, with all duties and

powers inherent in its capacity as such. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                          5.

      This defendant admits only that Day is the Mayor of Jonesboro. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.



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                                          6.

      This defendant admits only that defendants Messick, Lester, Powell, Sartor,

Sebo, and Wise are elected members of the City Council for the City of Jonesboro,

Georgia. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                          7.

      The allegations of this paragraph are denied as stated.

                                 JURISDICTION

                                          8.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law or

allegations in which plaintiffs merely seek to identify the claims they are asserting

in this case. To the extent that a response is required, this defendant expressly

denies that plaintiff is entitled to any of the relief prayed for in the complaint, as

articulated in this paragraph or otherwise.

                                          9.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law. To the

extent that a response is required, this defendant expressly denies that plaintiff is



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entitled to any of the relief prayed for in the complaint, as articulated in this

paragraph or otherwise.

                                         10.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law, which

speaks for itself, or to identify the claims they are asserting in this case. To the

extent that a response is required, this defendant expressly denies that plaintiff is

entitled to any of the relief prayed for in the complaint, as articulated in this

paragraph or otherwise.

                                         11.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to identify the claims they are asserting in this case.

To the extent that a response is required, this defendant expressly denies that

plaintiff is entitled to any of the relief prayed for in the complaint, as articulated

in this paragraph or otherwise.

                                         12.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law or

allegations which seek to identify the relief they are seeking herein. To the extent



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that a response is required, this defendant expressly denies that plaintiff is entitled

to any of the relief prayed for in the complaint, as articulated in this paragraph or

otherwise.

                                          13.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law. To the

extent that a response is required, this defendant expressly denies that plaintiff is

entitled to any of the relief prayed for in the complaint, as articulated in this

paragraph or otherwise.

                                        FACTS

                                          14.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 14 and, therefore, this

defendant can neither admit nor deny the same.

                                          15.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 15 and, therefore, this

defendant can neither admit nor deny the same.




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                                          16.

      On information and belief, this defendant admits only that the property

located at 7827 Old Morrow Road in Jonesboro, Georgia is owned by Jonesboro

Community Center. In further response, this defendant is without knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining

allegations of this paragraph and, therefore, this defendant can neither admit nor

deny the same.

                                          17.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 17 and, therefore, this

defendant can neither admit nor deny the same.

                                          18.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 18 and, therefore, this

defendant can neither admit nor deny the same.

                                          19.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 19 and, therefore, this

defendant can neither admit nor deny the same.



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                                          20.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 20 and, therefore, this

defendant can neither admit nor deny the same.

                                          21.

      This defendant admits only that Jonesboro Community Center filed a

Conditional Use Permit Application for the property located at 7827 Old Morrow

Road. Except as expressly admitted herein, the allegations of this paragraph are

denied as stated.

                                          22.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 22 and, therefore, this

defendant can neither admit nor deny the same.

                                          23.

      This defendant admits only that Exhibits “A” and “B” attached to Plaintiffs’

Complaint consist of a photograph depicting a commercial shopping center and

an aerial Google Map bearing the address “7857 Old Morrow Road.” Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.




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                                          24.

      This defendant admits only that the Subject Property located at 7815-7857

Old Morrow Road is comprised of a commercial center, the uses of which are

subject to the City of Jonesboro, Georgia’s Code of Ordinances. Except as expressly

admitted herein, the allegations of this paragraph are denied as stated.

                                          25.

      This defendant admits only that the Subject Property is located within the

City of Jonesboro’s C-2, highway Commercial, Zoning District. Except as expressly

admitted herein, the allegations of this paragraph are denied as stated.

                                          26.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 26 and, therefore, this

defendant can neither admit nor deny the same.

                                          27.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 27 and, therefore, this

defendant can neither admit nor deny the same.

                                          28.

      This defendant admits only that the Subject Property is fronted by Old



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Morrow Road, which runs parallel to the railroad, between Georgia Highway 138

and Raymond Street, and that it is located within the City of Jonesboro’s C-2,

highway Commercial, Zoning District adjacent to residential and commercial

properties. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                          29.

      This defendant admits only that the Subject Property is fronted by Old

Morrow Road, which runs parallel to the railroad, between Georgia Highway 138

and Raymond Street. Except as expressly admitted herein, the allegations of this

paragraph are denied as stated.

                                          30.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 30 and, therefore, this

defendant can neither admit nor deny the same.

                                          31.

      This defendant admits that routine maintenance and improvements are

regularly made to SR 138, which connects to Old Morrow Road. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.




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                                          32.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 32 and, therefore, this

defendant can neither admit nor deny the same.

                                          33.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 33 and, therefore, this

defendant can neither admit nor deny the same.

                                          34.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 34 and, therefore, this

defendant can neither admit nor deny the same.

                                          35.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 35 and, therefore, this

defendant can neither admit nor deny the same.

                                          36.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 36 and, therefore, this



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defendant can neither admit nor deny the same.

                                          37.

      On information and belief, the allegations in paragraph 37 are admitted.

                                          38.

      This defendant admits only that the Subject Property is located in the C-2

Zoning District. Except as expressly admitted herein, the allegations of this

paragraph are denied as stated.

                                          39.

      The allegations of this paragraph are admitted.

                                          40.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 40 and, therefore, this

defendant can neither admit nor deny the same.

                                          41.

      This defendant admits only that conditional use permits have been issued

to churches located in the commercial center. Except as expressly admitted, the

allegations of this paragraph are denied as stated.

                                          42.

      This defendant admits only that conditional use permits have been issued



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to churches located in the commercial center. Except as expressly admitted, the

allegations of this paragraph are denied as stated.

                                          43.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 43 and, therefore, this

defendant can neither admit nor deny the same.

                                          44.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 44 and, therefore, this

defendant can neither admit nor deny the same.

                                          45.

      The allegations of this paragraph are denied as stated.

                                          46.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 46 and, therefore, this

defendant can neither admit nor deny the same.

                                          47.

      The allegations of this paragraph are denied as stated.




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                                          48.

      The allegations of this paragraph are denied as stated.

                                          49.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations of paragraph 49 and, therefore, this

defendant can neither admit nor deny the same.

                                          50.

      The allegations of this paragraph are denied as stated.

                                          51.

      In response to the allegations of this paragraph, this defendant shows that

Georgia Constitution speaks for itself. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                          52.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                          53.

      This defendant shows that it is not required to respond to allegations in

which plaintiffs merely seek to provide their interpretation of federal law or, in



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particular any of the provisions and definitions contained in the Religious Land

and Institutionalized Persons Act, 42 U.S.C. § 2000cc or in Jonesboro’s Zoning

Ordinance, which speak for themselves. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                        54.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        55.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        56.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        57.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as



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expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        58.

      The allegations of this paragraph are denied as stated.

                                        59.

      This defendant admits only that the August 15, 2005 Thoroughfare Plan was

adopted in the City of Jonesboro, Georgia’s Code of Ordinances, which speaks for

itself. Except as expressly admitted herein, the allegations of this paragraph are

denied as stated.

                                        60.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        61.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        62.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as



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expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        63.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        64.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        65.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        66.

      The allegations of this paragraph are denied as stated.

                                        67.

      In response to the allegations of this paragraph, this defendant admits only

that the C-2 Zoning District authorizes Conditional Use Permits for churches,

religious organizations, and a large number of other entities. In further response,



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this defendant shows that the City of Jonesboro, Georgia’s Code of Ordinances

speaks for itself. Except as expressly admitted herein, the allegations of this

paragraph are denied as stated.

                                        68.

      This defendant admits only that, on February 7, 2020, Jonesboro Community

Center filed a Conditional Use Permit Application for the property located at 7827

Old Morrow Road, which speaks for itself. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.

                                        69.

      In response to the allegations of this paragraph, this defendant admits only

that Attachment II to the subject Conditional Use Permit Application bears the

title, “Constitutional Objection to Restriction in Zoning Ordinance for a Church,

Religious Assembly Use in the C-2 Zoning District.” Except as expressly admitted

herein, the allegations of this paragraph are denied as stated.

                                        70.

      In response to the allegations of this paragraph, this defendant admits only

that Attachment III to Plaintiffs’ Conditional Use Permit Application consists of

“Objection to Restrictions in Zoning Ordinance for a Church, Religious Assembly

Use Pursuant to the Religious Land Use and Institutionalized Persons Act, 42



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U.S.C. § 2000cc.” Except as expressly admitted herein, the allegations of this

paragraph are denied as stated.

                                        71.

      In response to the allegations of this paragraph, this defendant admits only

that Attachment V to Plaintiffs’ Conditional Use Permit Application consists of

“Objection to Zoning Hearing on Conditional Use Permit Application Based on

York v. Athens College of Ministry, Inc. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                        72.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        73.

      The allegations of this paragraph are denied as stated.

                                        74.

      In response to the allegations of this paragraph, this defendant admits only

that a public hearing concerning the subject Conditional Use Permit Application

was held November 9, 2020. Responding further, this defendant shows that the




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Georgia Zoning Procedures Law speaks for itself. Except as expressly admitted

herein, the allegations of this paragraph are denied as stated.

                                         75.

      In response to the allegations of this paragraph, this defendant admits only

that the Conditional Use Permit Application was recommended for denial. Except

as expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         76.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         77.

      The allegations of this paragraph are admitted.

                                         78.

      The allegations of this paragraph are admitted.

                              CLAIMS FOR RELIEF

                                   COUNT ONE

                           RLUIPA – EQUAL TERMS

                                         79.

      In response to the allegations of paragraph 79, this defendant re-alleges and



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incorporates by reference, as if fully set forth herein, its responses to paragraphs 1

through 78. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.

                                         80.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         81.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         82.

      This defendant admits only that the August 15, 2005 Thoroughfare Plan was

adopted in the City of Jonesboro, Georgia’s Code of Ordinances, which speaks for

itself. Except as expressly admitted herein, the allegations of this paragraph are

denied as stated.

                                         83.

      In response to the allegations of this paragraph, this defendant admits only

that Ordinance Sec. 86-183 was amended February 11, 2019 and June 3, 2019.



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Except as expressly admitted herein, the allegations of this paragraph are denied

as stated.

                                        84.

      The allegations of paragraph 84 are denied as stated.

                                        85.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        86.

      In response to the allegations of this paragraph, this defendant shows that

the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        87.

      The allegations of paragraph 87 are denied as stated.

                                        88.

      The allegations of paragraph 88 are denied as stated.

                                        89.

      The allegations of paragraph 89 are denied as stated.




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                                          90.

      The allegations of paragraph 90 are denied as stated.

                                          91.

        In response to the allegations of paragraph 91, this defendant expressly

denies that it violated the Religious Land Use and Institutionalized Persons Act,

42 U.S.C. § 2000cc, et seq., or that it violated any of plaintiffs’ rights, or the rights

of others, under the Constitution and laws of the United States, the Constitution

and laws of the State of Georgia or otherwise. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.

                                          92.

      The allegations of this paragraph are denied.

                                    COUNT TWO

                        RLUIPA – SUBSTANTIAL BURDEN

                                          93.

      In response to the allegations of paragraph 93, this defendant re-alleges and

incorporates by reference, as if fully set forth herein, its responses to paragraphs 1

through 92. Except as expressly admitted herein, the allegations of this paragraph

are denied as stated.




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                                         94.

      The allegations of this paragraph are denied as stated.

                                         95.

      In response to the allegations of this paragraph, this defendant admits only

that that the C-2 Zoning District in which the Subject Property is located is subject

to Conditional Use Permitting. Responding further, this defendant shows that the

City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except as

expressly admitted herein, the allegations of this paragraph are denied as stated.

                                         96.

      The allegations in this paragraph are admitted.

                                         97.

      This defendant admits only that Tara Boulevard (U.S. Highway 19/41) is

the City of Jonesboro, Georgia’s only Primary Arterial and that the following are

the City of Jonesboro’s Major Collector Streets: Fayetteville Road, North Avenue,

North Main Street, South Main Street, McDonough Street, Smith Street,

Stockbridge Road/Highway 138, and Jodeco Road. Except as expressly admitted

herein, the allegations of this paragraph are denied as stated.

                                         98.

      The allegations of this paragraph are denied as stated.



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                                         99.

      The allegations of this paragraph are denied as stated.

                                        100.

      In response to the allegations of this paragraph, this defendant admits only

that arterial and collector streets are organized and categorized under the City of

Jonesboro’s Thoroughfare Plan set forth in the Appendix to Ordinance Sec. 86,

which speaks for itself. Except as expressly admitted herein, the allegations of this

paragraph are denied as stated.

                                        101.

      In response to the allegations of this paragraph, this defendant admits only

that the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except

as expressly admitted herein, the allegations of this paragraph are denied as stated.

                                        102.

      This defendant is without knowledge or information sufficient to form a

belief as to the truth or falsity of the remaining allegations of this paragraph and,

therefore, this defendant can neither admit nor deny the same.

                                        103.

      In response to the allegations of this paragraph, this defendant admits only

that the City of Jonesboro, Georgia’s Code of Ordinances speaks for itself. Except



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as expressly admitted herein, the allegations of this paragraph are denied as stated.

                                          104.

      The allegations of this paragraph are denied as stated.

                                          105.

      The allegations of this paragraph are denied.

                                          106.

      In response to the allegations of this paragraph, this defendant expressly

denies that it violated the Religious Land Use and Institutionalized Persons Act,

42 U.S.C. § 2000cc, et seq., or that it violated any of plaintiffs’ rights, or the rights

of others, under the Constitution and laws of the United States, the Constitution

and laws of the State of Georgia or otherwise. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.

                                          107.

      In response to the allegations of this paragraph, this defendant expressly

denies that it violated the Religious Land Use and Institutionalized Persons Act,

42 U.S.C. § 2000cc, et seq., or that it violated any of plaintiffs’ rights, or the rights

of others, under the Constitution and laws of the United States, the Constitution

and laws of the State of Georgia or otherwise. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.



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                                          108.

      In response to the allegations of this paragraph, this defendant expressly

denies that it violated the Religious Land Use and Institutionalized Persons Act,

42 U.S.C. § 2000cc, et seq., or that it violated any of plaintiffs’ rights, or the rights

of others, under the Constitution and laws of the United States, the Constitution

and laws of the State of Georgia or otherwise. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.

                                          109.

      In response to the allegations of this paragraph, this defendant expressly

denies that it violated the Religious Land Use and Institutionalized Persons Act,

42 U.S.C. § 2000cc, et seq., or that it violated any of plaintiffs’ rights, or the rights

of others, under the Constitution and laws of the United States, the Constitution

and laws of the State of Georgia or otherwise. Except as expressly admitted herein,

the allegations of this paragraph are denied as stated.

                                          110.

      In response to the allegations of this paragraph, this defendant expressly

denies that it violated any of plaintiffs’ rights, or the rights of others, under the

Constitution and laws of the United States, the Constitution and laws of the State




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of Georgia or otherwise. Except as expressly admitted herein, the allegations of

this paragraph are denied as stated.

                                COUNT THREE

     TAKING CLAIM PURSUANT TO KNICK V. TOWNSHIP OF SCOTT

                                       111.

      In response to the allegations of paragraph 111, this defendant re-alleges

and incorporates by reference, as if fully set forth herein, its responses to

paragraphs 1 through 110. Except as expressly admitted herein, the allegations of

this paragraph are denied as stated.

                                       112.

      The allegations of this paragraph are denied.

                                       113.

      The allegations of this paragraph are denied as stated.

                                       114.

      The allegations of this paragraph are denied as stated.

                                       115.

      The allegations of this paragraph are denied as stated.

                                       116.

      The allegations of this paragraph are denied as stated.



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                                         117.

      This defendant shows that it is not required to respond to allegations which

plaintiffs merely seek to provide their interpretation of federal law or identify the

claims they are asserting in this case. To the extent that a response is required, this

defendant expressly denies that it violated any of plaintiffs’ rights, or the rights of

others, under the Constitution and laws of the United States, the Constitution and

laws of the State of Georgia or otherwise. Except as expressly admitted herein, the

allegations of this paragraph are denied as stated.

                                         118.

      The allegations of this paragraph are denied.


                                   COUNT FOUR

                        ARBITRARY AND CAPRICIOUS

                                         119.

      In response to the allegations of paragraph 119, this defendant re-alleges

and incorporates by reference, as if fully set forth herein, its responses to

paragraphs 1 through 118. Except as expressly admitted herein, the allegations of

this paragraph are denied as stated.

                                         120.

      The allegations of this paragraph are denied as stated.


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                                       121.

      The allegations of this paragraph are denied as stated.

                                       122.

      The allegations of this paragraph are denied as stated.

                                       123.

      The allegations of this paragraph are denied as stated.


                                 COUNT FIVE

             WRONGFUL DENIAL OF THE CUP APPLICATION

                                       124.

      In response to the allegations of paragraph 124, this defendant re-alleges

and incorporates by reference, as if fully set forth herein, its responses to

paragraphs 1 through 123. Except as expressly admitted herein, the allegations of

this paragraph are denied as stated.

                                       125.

      The allegations of this paragraph are denied.


                                       126.

      The allegations of this paragraph are denied.


                                       127.

      The allegations of this paragraph are denied as stated.

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                                   COUNT SIX

                         DECLARATORY JUDGMENT
                          AND INJUNCTIVE RELIEF

                                         128.

      In response to the allegations of paragraph 128, this defendant re-alleges

and incorporates by reference, as if fully set forth herein, its responses to

paragraphs 1 through 127. Except as expressly admitted herein, the allegations of

this paragraph are denied as stated.

                                         129.

      The allegations of this paragraph are denied.

                                         130.

      The allegations of this paragraph are denied.

                                         131.

      Any other allegations in the complaint which have not been expressly admitted or

otherwise addressed are hereby denied.

                               FOURTH DEFENSE

      For a fifth defense, this defendant shows that plaintiffs failed to provide

timely and proper ante litem notice of their purported tort claims against

Jonesboro or any of the individual defendants sued in the respective official

capacities.


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                                 FIFTH DEFENSE

      For a sixth defense, this defendant raises the affirmative defenses of

estoppel, laches, res judicata, statute of limitations and waiver.

                               SIXTH DEFENSE

      For a seventh defense, this defendant shows that plaintiffs have not and

cannot establish the elements necessary to support their claims for declaratory or

injunctive relief.

                               SEVENTH DEFENSE

      For a seventh defense, this defendant shows that plaintiffs failed to timely

or otherwise pursue legal remedies available to them under state law seeking

review of the denial of the application for a Conditional Use Permit.

                               EIGHTH DEFENSE

      For an eighth defense, this defendant shows that plaintiffs lack standing.

                              NINTH DEFENSE

      For a ninth defense, this defendant shows that its legislative decision to deny

plaintiffs’ conditional use permit was neither arbitrary nor capricious.

      Wherefore, having fully answered, this defendant prays that verdict and

judgment be entered in their favor, with all costs against plaintiffs; that this

defendant have a trial by a jury with regard to all triable issues; and that it have



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such other and further relief as the Court deems just and proper in the

circumstances.

     This 15th day of February, 2021.

                                    /s/ Harvey S. Gray
                                    Harvey S. Gray
                                    Georgia Bar No. 305838
                                    Alex Joseph
                                    Georgia Bar No. 590921
                                    Attorneys for Defendants City of Jonesboro,
                                    Georgia, Hon. Joy B. Day (In her official
                                    capacity), Tracey Messick (In her official
                                    capacity), Bobby Lester (In his official capacity),
                                    Billy Powell (In his official capacity), Dr.
                                    Donya L. Sartor, Ph.D. (In her official
                                    capacity), Pat Sebo (In her official capacity),
                                    and Ed Wise (In his official capacity)

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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day filed a copy of the foregoing Answer of

Defendant City of Jonesboro, Georgia’s filing the same with the Odyssey

eFileGA filing system which will automatically electronically serve all counsel of

record.

      This 15th day of February, 2021.


                                         /s/ Harvey S. Gray
                                         Harvey S. Gray
                                         Georgia Bar No. 305838
                                         Alex Joseph
                                         Georgia Bar No. 590921
                                         Attorneys for Defendants City of Jonesboro,
                                         Georgia, Hon. Joy B. Day (In her official
                                         capacity), Tracey Messick (In her official
                                         capacity), Bobby Lester (In his official capacity),
                                         Billy Powell (In his official capacity), Dr.
                                         Donya L. Sartor, Ph.D. (In her official
                                         capacity), Pat Sebo (In her official capacity),
                                         and Ed Wise (In his official capacity))

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